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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION


    NAUTILUS INSURANCE COMPANY,             )
              Plaintiff,                    )    August 15, 2023
                                            )
            -versus-                        )    2:22-1307
                                            )
                                            )    Charleston, SC
    RICHARD ALEXANDER MURDAUGH,             )
    SR., CORY FLEMING, MOSS &               )
    KUHN, PA, CHAD WESTENDORF,              )
    PALMETTO STATE BANK,                    )
              Respondents.                  )


                      TRANSCRIPT OF STATUS CONFERENCE

                BEFORE THE HONORABLE RICHARD M. GERGEL
               UNITED STATES DISTRICT JUDGE, presiding


    A P P E A R A N C E S:

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                        Charleston, SC 29401



                          Karen E. Martin, RMR, CRR
                              US District Court
                         District of South Carolina
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       Proceedings reported by stenographic court reporter.
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                            US District Court
                       District of South Carolina
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                                                                            24


 1   Amendment immunity left after that.           So we'll give you the

 2   time to do it.     And whatever schedule we have, if you

 3   encounter problems, I want to give you a chance to do your

 4   best.   Some people may just -- who aren't charged can

 5   assert the Fifth and you can't make them testify.                For

 6   those who are parties to this case, in a civil case that's

 7   an inference against the witness.

 8                Let me turn, if I -- so, basically, what I'm

 9   doing is I'm granting the motion to amend and mooting all

10   those motions.     They are denied without prejudice as moot

11   all to be raised again, if necessary.

12                There is this motion by Mr. Murdaugh that the

13   Satterfields are a necessary party.           Mr. Barber, is that

14   your idea?

15                MR. BARBER:    Well, Your Honor, that is our

16   position is that there's a judgment against him for

17   stealing the exact same money that Nautilus says, no, was

18   in fact stolen from us and not them.

19                THE COURT:    Yeah.      The problem here is a

20   plaintiff is the master of his complaint.             Okay?     He gets

21   to choose who he sues.       And I don't think it's a necessary

22   party and I'm going to deny your motion.             And I don't --

23   and I think Mr. Murdaugh's role in this is a kind of

24   dubious voice for this issue anyway.            But, you know, if

25   Nautilus wanted to pursue that, that's something Nautilus



                         Karen E. Martin, RMR, CRR
                             US District Court
                        District of South Carolina
